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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF ILLINOIS
                                BENTON DIVISION

DANA YOUNG,                                   )
                                              )
      Plaintiff,                              )
                                              )
      v.                                      )      No. 3:14-cv-00446-MJR-SCW
                                              )
CREDIT ACCEPTANCE CORPORATION                 )
                                              )
      Defendant.                              )

                               PLAINTIFF’S COMPLAINT

Plaintiff, DANA YOUNG (Plaintiff), through his attorney, AGRUSS LAW FIRM, LLC, alleges

the following against Defendant, CREDIT ACCEPTANCE CORPORATION, (Defendant):

                                    INTRODUCTION

   1. Plaintiff’s Complaint is based on the Telephone Consumer Protection Act., 47 U.S.C. 227,

      et seq. (“TCPA”).


   2. The TCPA was designed to prevent calls and text messages like the ones described herein,

      and to protect the privacy of citizens like Plaintiffs. “Voluminous consumer complaints

      about abuses of telephone technology – for example, computerized calls dispatched to
      private homes – prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC,

      132 S. Ct. 740, 744 (2012).

   3. In enacting the TCPA, Congress intended to give consumers a choice as to how corporate

      similar entities may contact them, and made specific findings that “[t]echnologies that

      might allow consumers to avoid receiving such calls are not universally available, are

      costly, are unlikely to be enforced, or place an inordinate burden on the consumer. TCPA,

      Pub.L. No. 102–243, § 11. In support of this, Congress found that


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               [b]anning such automated or prerecorded telephone calls to the
               home, except when the receiving party consents to receiving the call
               or when such calls are necessary in an emergency situation affecting
               the health and safety of the consumer, is the only effective means
               of protecting telephone consumers from this nuisance and privacy
               invasion.

Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL 3292838, at* 4

(N.D.Ill. Aug. 10, 2012) (citing Congressional findings on TCPA’s purpose).


   4. Congress also specifically found that “the evidence presented to the Congress indicates that

       automated or prerecorded calls are a nuisance and an invasion of privacy, regardless of the

       type of call….” Id. at §§ 12-13. See also, Mims, 132 S. Ct. at 744.

   5. As Judge Easterbrook of the Seventh Circuit recently explained in a TCPA case regarding

       calls to a non-debtor similar to this one:

               The Telephone Consumer Protection Act … is well known for its
               provisions limiting junk-fax transmissions. A less-litigated part of
               the Act curtails the use of automated dialers and prerecorded
               messages to cell phones, whose subscribers often are billed by the
               minute as soon as the call is answered—and routing a call to
               voicemail counts as answering the call. An automated call to a
               landline phone can be an annoyance; an automated call to a cell
               phone adds expense to annoyance.

Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).

                                JURISDICTION AND VENUE

   6. This Court has federal question jurisdiction because this case arises out of violations of

       federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

   7. Venue and personal jurisdiction in this District are proper because Defendant does or

       transacts business within this District, and a material portion of the events at issue occurred

       in this District.


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                                            PARTIES

   8. Plaintiff is, and at all times mentioned herein, was a citizen and resident of the State of

      Illinois.

   9. Plaintiff is, and at all times mentioned herein, a “person” as defined by 47 U.S.C. § 153

      (10).

   10. Plaintiff is informed and believes, and thereon alleges, that Defendant is, and at all times

      mentioned herein, was a corporation whose corporate headquarters are in Michigan.

   11. Defendant is, and at all times mentioned herein, a corporation and is a “person,” as defined

      by 47 U.S.C. § 153 (10).

   12. Plaintiff alleges that at all times relevant herein Defendant conducted business in the State

      of Illinois and in the County of Cumberland, and within this judicial district.

                                 FACTUAL ALLEGATIONS

   13. Within four (4) years of Plaintiff filing this Complaint, Defendant communicated with

      Plaintiff regarding one of Defendant’s accounts (“Account”).

   14. Within four (4) years of Plaintiff filing this Complaint, Defendant began to utilize

      Plaintiff’s cellular telephone number, ending in 0721, to place virtually daily incessant

      calls to Plaintiff pertaining to an Account.

   15. Within four (4) years of Plaintiff filing this Complaint, Defendant has left Plaintiff a

      massive number of prerecorded voicemail messages regarding the Account.

   16. On March 10, 2014, Plaintiff mailed a cease and desist letter to Defendant at 25505 West

      Twelve Mile Road, Southfield, MI 48034, which revoked all prior business relationships

      as defined by the Telephone Consumer Protection Act. See letter attached as Exhibit A.

   17. Despite this, Defendant continued to call Plaintiff.
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   18. Defendant calls Plaintiff using an automatic telephone dialing system.

   19. Defendant uses an “automatic telephone dialing system”, as defined by 47 U.S.C. §

      227(a)(1), to place its repeated calls to Plaintiff.

   20. Defendant’s calls constitute calls that are not for emergency purposes as defined by 47

      U.S.C. § 227(b)(1)(A).

   21. Defendant’s calls are placed to a telephone number assigned to a cellular telephone service

      for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

   22. Plaintiff revoked any consent that may have been given that would allow for the calling of

      Plaintiff’s telephone number. See letter attached as Exhibit A.

   23. Accordingly, Defendant did not have Plaintiff’s “prior express consent” to receive calls

      using an automatic telephone dialing system or an artificial or prerecorded voice on her

      cellular telephone pursuant to 47 U.S.C. 227(b)(1)(A).

   24. Defendant calls Plaintiff from various telephone numbers including, but not limited to

      313-262-0661, 586-461-1004, 517-338-1002, 810-277-1003, and 954-623-6500.

   25. The telephone numbers of 313-262-0661, 586-461-1004, 517-338-1002, 810-277-1003,

      and 954-623-6500 are five of Defendant’s telephone numbers.

                           DEFENDANT VIOLATED THE
                     TELEPHONE CONSUMER PROTECTION ACT

   26. Defendant’s conduct violated the TCPA by:

          a. Placing non-emergency telephone calls to Plaintiff’s cellular telephone using an

              automatic telephone dialing system and/or pre-recorded or artificial voice in

              violation of 47 U.S.C. § 227 (b)(1)(A)(iii).

   27. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq., Plaintiff is

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      entitled an award of $500.00 in statutory damages, for each and every violation, pursuant

      to 47 U.S.C. § 227(b)(3)(B).

   28. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227 et seq.,

      Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every

      violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

   29. Plaintiff is entitled to and seek injunctive relief prohibiting such conduct in the future.

      WHEREFORE, Plaintiff, DANA YOUNG, respectfully requests judgment be entered

against Defendant, CREDIT ACCEPTANCE CORPORATION, for the following:

   30. As a result of Defendant’s negligent violations of 47 U.S.C. 227(b)(1), Plaintiff is entitled

      to and requests $500.00 in statutory damages, for each and every violation, pursuant to 47

      U.S.C. 227(b)(3)(B).

   31. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. 227(b)(1),

      Plaintiff is entitled to and requests treble damages, as provided by statute, up to $1,500.00,

      for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B) and 47 U.S.C.

      227(b)(3)(C).

   32. Plaintiff is entitled to and seek injunctive relief prohibiting such conduct in the future.

   33. Any other relief that this Honorable Court deems appropriate.



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                            RESPECTFULLY SUBMITTED,



                            By:_/s/ Michael S. Agruss_____
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                          EXHIBIT A




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